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 8                                  UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        Case No. 1:16-cr-00122-DAD-BAM-4
12                     Plaintiff,
13          v.                                        SEALING ORDER
14   FRANCES GALVAN,
15                     Defendant.
16

17          The court has reviewed and considered defense counsel’s request for an order sealing

18   documents submitted in this case. (Doc. No.187.) Good cause appearing, the motion to withdraw

19   as attorney of record, declaration of attorney Eric K. Fogderude in support thereof and the

20   accompanying documents shall be filed under seal until further order of the court.

21   IT IS SO ORDERED.
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        Dated:     October 30, 2017
23                                                       UNITED STATES DISTRICT JUDGE

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